CaSe: 3217-CV-00055-WHR-|\/|.]N DOC #Z 28 Filed: 02/02/18 Page: l Of l PAGE|D #Z 167

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

WILLIAM R. MILLER, et al.,

Plaintiffs, Case No. 3:17-cv-55

VS.

U.S. BANK, N.A., et al., District Judge Walter H. Rice
Magistrate Judge Michael J. Newman
Defendants

 

ORDER AND ENTRY ADOPTING 'I`HE REPORT AND RECOMMENDATION OF
THE MAGISTRATE JUDGE (DOC. 26)

 

The Court has reviewed the Report and Recommendation of Magistrate Judge Michael J.
Newman (Doc. #26), to Whom this case Was referred pursuant to 28 U.S.C. § 636(1)). The parties
have not filed objections to the Report and Recommendation and the time for filing such
objections under Fed. R. Civ. P. 72(b) has expired

Accordingly, it is hereby ORDERED that:

(l) The Report and Recornrnendation (Doc. #26) is ADOPTED in full;

(2) Defendants’ partial motion to dismiss (doc. #5) is GRANTE]) IN PART
and DENIED IN PART;

(3) Counts Three, Nine, and Ten of Plaintiffs’ complaint are hereby
DISMISSED; and

(4) Count One of Plaintiffs’ complaint is DISMISSED to the limited extent
Plaintiffs contend that Defendants’ creation of an escrow account violated
the Real Estate Settlement Procedures Act (“RESPA”), 12 U.S.C. § 2605.

IT IS SO ORDERED.
. ¢*> '
Date: c/L"Q_." l 7 _41/;,_,»¢ -\,¢-Q~.._

Walter H. Rice
United States District Judge

